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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION



UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                              CASE NO. 2:24-CR-20002-001

JAMES ALLEN PRICE                                                                 DEFENDANT


                                           ORDER

         The Court ADOPTS the report and recommendation (Doc. 28) entered in this case and

accepts Defendant’s plea of guilty to Count 1 of the indictment. The Defendant is hereby adjudged

GUILTY of the offense.

         IT IS SO ORDERED this 8th day of March 2024.




                                                           /s/P. K. Holmes ΙΙΙ
                                                           P.K. HOLMES III
                                                           U.S. DISTRICT JUDGE
